







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

&nbsp;




 
  
  &nbsp;
  RYAN O=NEAL JONES,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
  &nbsp;
  v.
  &nbsp;
  THE STATE OF TEXAS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
  
  &nbsp;
   '
  &nbsp;
  '
  &nbsp;
  '
  &nbsp;
  '
  &nbsp;
  '
  
  
  &nbsp;
  No. 08-03-00161-CR
  &nbsp;
  Appeal from the
  &nbsp;
  203rd District Court
  &nbsp;
  of Dallas County, Texas
  &nbsp;
  (TC#F-0221003-WP)
  
 




&nbsp;

MEMORANDUM
OPINION

Ryan O=Neal Jones was indicted for forgery
of a government instrument.&nbsp; He entered
an open plea of guilty and was convicted and sentenced by the trial court to
five years= imprisonment.&nbsp; We affirm.

Procedural
Background








At the plea hearing, the trial court
admonished Jones, both orally and in writing, of his
right to a jury trial, the range of punishment for the offense, and the
consequences of pleading guilty.&nbsp; The
court asked Jones a series of questions to determine whether his plea was
knowing and voluntary.&nbsp; A judicial
confession was admitted into evidence.&nbsp;
Jones then testified in support of his request for probation.&nbsp; At the conclusion of the hearing, the court
stated, A[T]he court finds that your waiver of
right to a jury trial, your plea of guilty and your signed written Judicial
Confession have all been freely and voluntarily made . . . [and] that you are
mentally competent to enter your plea.&nbsp;
The court finds you guilty on your plea . . . .@&nbsp;
The court then proceeded to sentence Jones.&nbsp; The written judgment of conviction states
that Jones=s plea Awas accepted by the court.@

Acceptance
of the Plea

On appeal, Jones argues that his
sentence is void because the trial judge did not expressly accept his plea
before sentencing him.&nbsp; He relies on
article 26.13 of the Code of Criminal Procedure.&nbsp; That statute requires the trial court to give
the defendant certain admonishments A[p]rior to accepting
a plea of guilty@ and provides that A[n]o plea of guilty . . . shall be accepted
by the court unless it appears that the defendant is mentally competent and the
plea is free and voluntary.@&nbsp; Tex. Code Crim. Proc. Ann. art.
26.13(a), (b) (Vernon Supp. 2004) (emphasis added).&nbsp; Jones infers from this language that a trial
court must expressly state in open court that it accepts a defendant=s plea.

Although the statutory language indicates
that the trial court=s acceptance of a plea is part of the plea process, the
language does not require that the trial court expressly state its acceptance
of the plea.&nbsp; Jones does not cite any
cases holding that a trial court must expressly state its acceptance of a
defendant=s plea or that the trial court=s failure to do so renders a sentence
void.&nbsp; Nor does Jones cite any policy or
interest that would be advanced by requiring the trial court to state that it
accepts a plea.








We decline to adopt Jones=s interpretation of article
26.13.&nbsp; Cf. Watson v. State, 974
S.W.2d 763, 764 (Tex. App.--San Antonio 1998, pet. ref=d) (holding that a trial judge=s finding of guilt does not have to
be Aexplicitly verbalized@).&nbsp;
In this case, the trial court obviously accepted Jones=s plea when it stated, AThe court finds you guilty on your plea
. . . .@

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Conclusion

Jones=s issue on appeal is overruled, and
the judgment of the trial court is affirmed.

&nbsp;

SUSAN
LARSEN, Justice

June 10, 2004

&nbsp;

Before Panel No. 1

Larsen, McClure, and Chew,
JJ.

&nbsp;

(Do Not Publish)

&nbsp;





